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  1 Elliot Gale (Bar #263326)
      egale@gajplaw.com
  2 Joe Angelo (Bar #268542)
      jangelo@gajplaw.com
  3 Gale, Angelo, Johnson, & Pruett, P.C.
      1430 Blue Oaks Blvd., Ste. 250
  4 Roseville, CA 95747
    916-290-7778 ph
  5 916-721-2767 fax
    Attorneys for Plaintiff
  6 Ryan Millis

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  8
                               UNITED STATES DISTRICT COURT

  9
                           CENTRAL DISTRICT OF CALIFORNIA

 10

 11
      RYAN MILLIS                                 Case No.: 2:20-cv-04076-DSF-JC

 12
                  Plaintiff,
                                                  PLAINTIFF’S NOTICE OF
 13
            vs.                                   VOLUNTARY DISMISSAL OF
                                                  DEFENDANT U.S. BANK, NA.
 14
      U.S. BANK, N.A.                             PURSUANT TO FEDERAL RULE
                                                  OF CIVIL PROCEDURE 41(A)(1)
 15
                  Defendant

 16

 17

 18 PLEASE TAKE NOTICE that Plaintiff Ryan Millis, pursuant to Federal Rule of

 19 Civil Procedure 41(a)(1), hereby voluntarily dismisses U.S. Bank, N.A. as to all

 20 claims in this action, with prejudice.

 21         Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

 22         41(a) Voluntary Dismissal

 23         (1) By the Plaintiff

 24               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66

 25                   and any applicable federal statute, the plaintiff may dismiss an

 26                   action without a court order by filing:

 27                      (1) a notice of dismissal before the opposing party serves either

 28                            an answer or a motion for summary judgment.

                                                 1
                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
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  1        Defendant U.S. Bank, N.A. has neither answered Plaintiff’s Complaint, nor
  2 filed a motion for summary judgment. Accordingly, the matter may be dismissed

  3 against it for all purposes and without an Order of the Court.

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  5 Dated: August 4, 2020                  Gale, Angelo, Johnson, & Pruett, P.C.
  6
                                         By:        /s/ Joe Angelo
  7
                                                      Joe Angelo
  8                                      Attorney for Plaintiff
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                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
